        Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 1 of 33



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

State of New York, et al.,

                      Plaintiffs,
                                               Civil Action No. 18-1747 (JDB)
v.

United States Department of Labor, et. al.,

                      Defendants.


 BRIEF OF AMICI CURIAE AMERICAN MEDICAL ASSOCIATION AND MEDICAL
SOCIETY OF THE STATE OF NEW YORK IN SUPPORT OF PLAINTIFFS’ MOTION
                      FOR SUMMARY JUDGMENT


                                              Chad I. Golder (Bar ID: 976914)
                                              MUNGER, TOLLES & OLSON LLP
                                              1155 F Street N.W., Seventh Floor
                                              Washington, D.C. 20004-1357
                                              Telphone: (202) 220-1100
                                              Fax: (202) 220-2300
                                              Counsel for Amici Curiae American
                                              Medical Association and Medical Society of
                                              the State of New York
           Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 2 of 33



                                                  TABLE OF CONTENTS

                                                                                                                                     Page

I.        THE AHP RULE SABOTAGES THE AFFORDABLE CARE ACT’S PATIENT
          PROTECTIONS ..................................................................................................................6
          A.         The Affordable Care Act Included Consumer Protection Provisions to
                     Improve the Quality of Health Care Coverage Accessible to Americans ...............6
          B.         The AHP Rule Will Undermine the Consumer Protection Provisions in the
                     Affordable Care Act, Leaving Patients Vulnerable to Worse Health
                     Outcomes and/or Financial Ruin .............................................................................9
II.       THE AHP RULE WILL DESTABILIZE THE HEALTH INSURANCE
          MARKET...........................................................................................................................17
III.      THE AHP RULE CREATES AN UNDENIABLE RISK OF FRAUDULENT OR
          ABUSIVE INSURANCE PRACTICES ............................................................................21
CONCLUSION ..............................................................................................................................23
CERTIFICATE OF COMPLIANCE .............................................................................................25
CERTIFICATE OF SERVICE ......................................................................................................26




                                                                     i
           Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 3 of 33



                                                TABLE OF AUTHORITIES

                                                                                                                                       Page

FEDERAL CASES

Cutler v. U.S. Dep’t of Health and Human Servs.,
   797 F.3d 1173 (D.C. Cir. 2015) ...........................................................................................4, 19

King v. Burwell,
   135 S. Ct. 2480 (2015) .............................................................................................................23

National Federation of Independent Business v. Sebelius,
   567 U.S. 519 (2012) ...........................................................................................................4, 5, 8

Seven-Sky v. Holder,
   661 F.3d 1 (D.C. Cir. 2011) .......................................................................................................4

FEDERAL STATUTES

5 U.S.C. § 706(2)(A)......................................................................................................................15

26 U.S.C. § 4980H .........................................................................................................................10

42 U.S.C. § 18022 ............................................................................................................................8

42 U.S.C. § 18022(b)(1) ..................................................................................................................8

42 U.S.C. § 18091(2)(I) .............................................................................................................7, 20

42 U.S.C. § 18091(2)(E)-(G) ...........................................................................................................7

FEDERAL REGULATIONS

Definition of “Employer” Under Section 3(5) of ERISA—Association Health
   Plans, 83 Fed. Reg. 28,912 (June 21, 2018) ........................................................................4, 10

Definition of “Employer” Under Section 3(5) of ERISA—Association Health
   Plans, 83 Fed. Reg. 614-01, 615 (Jan. 5, 2018) .........................................................................9

OTHER AUTHORITIES

Aaron S. Kesselheim, et al., Prescription Drug Insurance Coverage and Patient
   Health Outcomes: A Systematic Review, 105 Am. J Public Health e17 (Feb
   2015), available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4318289/ .....................11




                                                                      ii
           Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 4 of 33



                                               TABLE OF AUTHORITIES

                                                                                                                                    Page

Allen St. John, How the Affordable Care Act Drove Down Personal Bankruptcy:
    Expanded health insurance helped cut the number of filings by half, Consumer
    Reports (May 2, 2017), https://www.consumerreports.org/personal-
    bankruptcy/how-the-aca-drove-down-personal-bankruptcy/ .....................................................7

American Academy of Actuaries, Issue Brief: Association Health Plans, February
  2018, www.actuary.org/content/association-health-plans-0 ....................................................19

American Academy of Child & Adolescent Psychiatry, Comment Letter on
  Proposed Rulemaking, Definition of Employer-Association Health Plans (RIN
  1210-AB85) (March 5, 2018) ..................................................................................................12

American Academy of Family Physicians, Comment Letter on Proposed
  Rulemaking, Definition of Employer-Small Business Health Plans (RIN 1210-
  AB85) (March 5, 2018)............................................................................................................14

American Academy of Pediatrics, Comment Letter on Proposed Rulemaking,
  Definition of Employer-Small Business Health Plans (RIN 1210-AB85)
  (March 6, 2018) .......................................................................................................................12

American Cancer Society, Comment Letter on Proposed Rulemaking, Definition
  of Employer-Association Health Plans (RIN 1210-AB85) (March 6, 2018) ..........................17

American College of Obstetricians and Gynecologists, Comment Letter on
  Proposed Rulemaking, Definition of Employer-Association Health Plans (RIN
  1210-AB85) (March 5, 2018) ..................................................................................................13

American Medical Association, Comment Letter on Proposed Rulemaking,
  Definition of Employer-Small Business Health Plans (RIN 1210-AB85)
  (March 5, 2018) .........................................................................................................................5

Centers for Disease Control & Prevention, Gateway to Health Communication &
   Social Marketing Practice: Pregnancy and Prenatal Care,
   https://www.cdc.gov/healthcommunication/
   toolstemplates/entertainmented/tips/PregnancyPrenatalCare.html ..........................................11

Dan Mendelson, et al., Association Health Plans Projected to Enroll 3.2M
   Individuals, Avalere.com, Feb. 28, 2018,
   http://avalere.com/expertise/managed-care/insights/association-health-plans-
   projected-to-enroll-3.2m-individuals .......................................................................................18




                                                                    iii
           Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 5 of 33



                                                TABLE OF AUTHORITIES

                                                                                                                                     Page

Gary Claxton, et al., Pre-existing Conditions and Medical Underwriting in the
   Individual Insurance Market Prior to the ACA, Henry J. Kaiser Family
   Foundation (Dec. 12, 2016), https://www.kff.org/health-reform/issue-
   brief/pre-existing-conditions-and-medical-underwriting-in-the-individual-
   insurance-market-prior-to-the-aca/ ............................................................................................6

Gary Claxton, Larry Levitt, & Karen Pollitz, Pre-ACA Market Practices Provide
   Lessons for ACA Replacement Approaches, Henry J. Kaiser Family
   Foundation (Feb 16, 2017), https://www.kff.org/health-costs/issue-brief/pre-
   aca-market-practices-provide-lessons-for-aca-replacement-approaches/ ..................................6

Hannah Nichols, The Top 10 Leading Causes of Death in the United States,
   Medical News Today, Feb. 23, 2017,
   https://www.medicalnewstoday.com/articles/282929.php ......................................................11

Information on Essential Health Benefits (EHB) Benchmark Plans, Centers for
    Medicare & Medicaid Services, https://www.cms.gov/cciio/resources/data-
    resources/ehb.html .....................................................................................................................8

Josh Katz, Drug Deaths in America are Rising Faster than Ever, New York
   Times, June 5, 2017 .................................................................................................................12

Katie Keith, Reports Find Risk of Non-ACA-Compliant Plans to be Higher than
   Federal Estimates¸ Health Affairs Blog, March 4, 2018,
   https://www.healthaffairs.org/ do/10.1377/hblog20180303.392660/full/ ...............................18

Lifetime & Annual Limits, U.S. Department of Health & Human Services,
    https://www.hhs.gov/healthcare/about-the-aca/benefit-limits/index.html .................................8

Lueck, Sarah, Trump Rule on Association Health Plans Could Devastate Small
   Group Markets, Center for Budget and Policy Priorities, Jan. 5, 2018,
   https://www.cbpp.org/blog/trump-rule-on-association-health-plans-could-
   devastate-small-group-markets ................................................................................................11

Michelle Andrews, Thinking About an Association Health Plan? Read The Fine
   Print, Kaiser Health News (June 26, 2018) .............................................................................16

Mila Kofman, Association Health Plans: Loss of State Oversight Means
   Regulatory Vacuum and More Fraud, Georgetown Health Policy Institute
   (2005), https://hpi.georgetown.edu/ahp.html ...........................................................................21

Mila Kofman, et al., Association Health Plans: What’s All the Fuss About?, 25
   Health Affairs 1591 (Nov. 1, 2006)
   https://www.healthaffairs.org/doi/full/10.1377/hlthaff.25.6.1591 .....................................21, 22


                                                                     iv
            Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 6 of 33



                                                  TABLE OF AUTHORITIES

                                                                                                                                             Page

Mila Kofman, et al., Health Insurance Regulation by States and the Federal
   Government: A Review of Current Approaches and Proposals for Change,
   Georgetown Health Policy Institute (April 2006), https://www-
   tc.pbs.org/now/politics/Healthinsurancereportfinalkofman pollitz.pdf ...................................21

National Alliance on Mental Illness, Mental Health Facts In America,
   https://www.nami.org/NAMI/media/NAMI-
   Media/Infographics/GeneralMHFacts.pdf ...............................................................................11

National Association of Insurance Commissioners, Letter to Consumer
   Representatives regarding Proposed Rules Related to AHPs (Feb. 1, 2018),
   uphelp.org/sites/default/
   files/attachments/naic_rep_letter_ahps_020118_final_0.pdf ..................................................16

National Institutes of Health, What is Prenatal Care and Why Is It Important?,
   https://www.nichd.nih.gov/health/topics/pregnancy/conditioninfo/prenatal-
   care ...........................................................................................................................................12

National Women’s Law Center, Turning to Fairness: Insurance Discrimination
   Against Women Today and the Affordable Care Act (March 2012),
   https://www.nwlc.org/sites/default/files/pdfs/nwlc_2012_turningtofairness_re
   port.pdf .....................................................................................................................................13

Niraj Chokshi, Historians Take Note: What America Looked Like Before
   Obamacare, Washington Post, March 26, 2014 ........................................................................6

Noam N. Levey, Trump’s New Insurance Rules are Panned by Nearly Every
   Healthcare Group that Submitted Formal Comments, L.A. Times, May 30,
   2018............................................................................................................................................4

Non-Group Health Plans, Henry J. Kaiser Family Foundation (June 14, 2017),
   https://www.kff.org/health-reform/press-release/analysis-before-aca-benefits-
   rules-care-for-maternity-mental-health-substance-abuse-most-often-
   uncovered-by-non-group-health-plans/......................................................................................9

PerryUndem Research & Communication, Examining the Mental Health Care
   Needs and Preferences of Women Ages 18 to 44 (2017)
   https://www.plannedparenthood.org/uploads/filer_public/50/2e/502ec309-
   c5f3-4aed-82c2-d73adb02aa8b/centering_srh_and_mh_care_-_generic.pdf ..........................13

Pre-Existing Conditions, U.S. Department of Health & Human Services,
   https://www.hhs.gov/healthcare/ about-the-aca/pre-existing-
   conditions/index.html.................................................................................................................8



                                                                         v
           Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 7 of 33



                                                TABLE OF AUTHORITIES

                                                                                                                                      Page

President Donald Trump, Remarks at the National Federation of Independent
   Businesses 75th Anniversary Celebration (June 19, 2018),
   https://www.whitehouse.gov/briefingsstatements/ remarks-president-trump-
   national-federationindependent-businesses-75thanniversary-celebration/ ................................9

Protectourcare.org, Fact Sheet: Association Health Plans (May 17, 2018)
   https://www.protectourcare.org/fact-sheet-association-health-plans/......................................21

Robert Pear & Reed Abelson, Foiled in Congress, Trump Moves on His Own to
   Undermine Obamacare, New York Times, Oct. 11, 2017,
   https://www.nytimes.com/2017/10/11/us/politics/trump-obamacare-executive-
   order.html?_r=0 ...................................................................................................................9, 10

Ryan Schultz, Oliver Wyman, Letter to DC Health Benefit Exchange regarding
   Potential Impact of Association Health Plans in the District of Columbia, Feb.
   21, 2018)
   https://hbx.dc.gov/sites/default/files/dc/sites/hbx/publication/attachments/Revi
   ew%20of%20Impact%20of%20AHPs%202.21.2018.pdf.......................................................19

Sabrina Corlette, et al., New Rules to Expand Association Health Plans, The
   Actuary, May 2018, Theactuarymagazine.org/new-rules-to-expand-
   association-health-plans ...........................................................................................................18

Ted MacKinney, et al., Does Providing Care for Uninsured Patients Decrease
   Emergency Room Visits and Hospitalizations?, US National Library of
   Medicine, National Institutes of Health (March 11, 2013),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4818592/ ......................................................7

U.S. General Accounting Office, Private Health Insurance: Employers and
   Individuals are Vulnerable to Unauthorized or Bogus Entities Selling
   Coverage, GAO-04-312 (Feb. 2004) .......................................................................................21

US National Library of Medicine, National Institutes of Health (March 11, 2013),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4818592/ ......................................................7

Ylan Q. Mui, The Shocking Number of Americans Who Can’t Cover a $400
   Expense, Washington Post, May 25, 2016,
   https://www.washingtonpost.com/news/wonk/wp/2016/05/ 25/the-shocking-
   number-of-americans-who-cant-cover-a-400-expense/?utm_term=.
   2f6208458f41 .............................................................................................................................7




                                                                     vi
        Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 8 of 33



                      CORPORATE DISCLOSURE STATEMENT

       Amici curiae are non-profit organizations. They have no parent corporations and do not

issue stock.




                                             1
        Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 9 of 33



                                INTEREST OF AMICI CURIAE 1

       The American Medical Association (AMA) is the largest professional association of

physicians, residents, and medical students in the United States. Additionally, through state and

specialty medical societies and other physician groups seated in its House of Delegates,

substantially all US physicians, residents, and medical students are represented in the AMA's

policy making process. The objectives of the AMA are to promote the science and art of medicine

and the betterment of public health. AMA members practice and reside in all states and in the

District of Columbia.

       The Medical Society of the State of New York (“MSSNY”) is comprised of physicians,

residents and medical students who practice in the State of New York. MSSNY is represented in

the AMA House of Delegates and shares the AMA objectives to promote the science and art of

medicine and the betterment of public health. The primary purpose of MSSNY is to enhance the

delivery of medical care of high quality to all people in the most economical manner and to

promote and maintain high standards in medical education and in the practice of medicine in an

effort to ensure that quality medical care is available to the public.

       Amici share a commitment to increasing access to the best and most affordable healthcare

coverage for their members’ patients. The Affordable Care Act was an important step towards

achieving these goals. The Department of Labor’s June 21, 2018 Final Rule regarding Association




1
        In accordance with Local Civil Rule 7(o)(5) and Federal Rule of Appellate Procedure
29(a)(4)(E), amici certify that (1) this brief was authored entirely by counsel for amici curiae and
not by counsel for any party, in whole or in part; (2) no party or counsel for any party contributed
money to fund preparing or submitting this brief; and (3) apart from amici curiae and their counsel,
no other person contributed money to fund preparing or submitting this brief.


                                                  2
       Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 10 of 33



Health Plans (“AHP Rule”) will undermine the Act’s vital reforms in ways that will harm

physicians, patients, and the healthcare system as a whole. 2




2
        The AMA and MSSNY join this brief on their own behalves and as representatives of the
Litigation Center of the American Medical Association and the State Medical Societies. The
Litigation Center is a coalition among the AMA and the medical societies of each state, whose
purpose is to represent the viewpoint of organized medicine in the courts.


                                                 3
       Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 11 of 33



                                       INTRODUCTION

       Amici curiae seek to improve healthcare in the United States. A key part of this mission is

advocating for access to affordable, meaningful health coverage for all patients. As courts have

recognized again and again, this is the same goal as underpins the Affordable Care Act itself. 3

       The Department of Labor’s June 21, 2018 Final Rule regarding Association Health Plans

(“AHP Rule”) 4 is antithetical to this mission. The AHP Rule will be devastating to the health,

well-being, and pocketbooks of millions of Americans. To understand why, this Court need look

no further than the hundreds of comments Defendants received during the rulemaking process.

Remarkably “[n]ot a single group representing patients, physicians, nurses or hospitals voiced

support” for the proposed rule. 5 Sandy Praeger, a former state insurance regulator in Kansas and

onetime president of the National Association of Insurance Commissioners captured it well:

“‘Basically anybody who knows anything about healthcare is opposed to these proposals.’” 6

       Amici respectfully submit that they, too, know something about healthcare. And like the

many other groups and individuals that participated in the rulemaking process, they believe that

the AHP Rule is both unwise and unlawful. The AMA’s comment during the rulemaking process

perfectly captures the uniform opposition by those who know healthcare the best:


3
        E.g., Cutler v. U.S. Dep’t of Health and Human Servs., 797 F.3d 1173, 1175 (D.C. Cir.
2015) (“Congress enacted the Affordable Care Act in 2010 in an effort to ‘increase the number of
Americans covered by health insurance and decrease the cost of health care.’” (quoting National
Federation of Independent Business v. Sebelius, 567 U.S. 519, 538-539 (2012)); Seven-Sky v.
Holder, 661 F.3d 1, 4 (D.C. Cir. 2011) (“Suffice it to say that the Affordable Care Act sought to
reform our nation's health insurance and health care delivery markets with the aims of improving
access to those markets and reducing health care costs and uncompensated care.”).
4
       See Definition of “Employer” Under Section 3(5) of ERISA—Association Health Plans,
83 Fed. Reg. 28,912 (June 21, 2018).
5
       Noam N. Levey, Trump’s New Insurance Rules are Panned by Nearly Every Healthcare
Group that Submitted Formal Comments, L.A. Times, May 30, 2018.
6
       Id.


                                                 4
       Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 12 of 33



       [T]he coverage gains of the past decade should be maintained. Central to this
       principle is ensuring meaningful coverage, assisting individuals with low-incomes
       or unusually high medical costs in obtaining health insurance coverage and meeting
       cost-sharing obligations, and ensuring the continuation of essential health benefit
       (EHB) categories and their associated protections against annual and lifetime limits
       and out-of-pocket expenses. Affordability is also critical, as is stabilizing and
       strengthening the individual health insurance market, maintaining key insurance
       market reforms under current law, and expanding choice of health insurance
       coverage to best meet individual needs.

       While the proposed rule expanding AHPs could potentially aid small businesses
       and individuals by enhancing consumer choice and making health insurance plans
       less expensive, the AMA is very concerned that, overall, DOL’s proposal does not
       maintain key consumer protections and does not meet the AMA’s key principles on
       health system reform as summarized above, and would result in substandard health
       insurance coverage. 7

       Amici respectfully ask this Court to bear these principles in mind as it evaluates this case.

More importantly, they ask this Court to bear consequences of the AHP in mind as well. As

explained below, the AHP Rule will (1) deprive patients of essential care; (2) allow insurers to

discriminate against individuals based on pre-existing health conditions; (3) destabilize the

insurance markets; and (4) expose patients to fraud. One need “not express any opinion on the

wisdom of the Affordable Care Act” to recognize that upholding the AHP Rule will sabotage the

ACA’s crucial reforms. National Federation of Independent Business, 567 U.S. at 588. That alone

demonstrates why plaintiffs should prevail in this case. The information below, drawn from

amici’s vast expert medical experience, makes clear that defendants cannot survive the most

deferential Administrative Procedure Act review. Plaintiffs’ motion for summary judgment should

be granted.




7
 American Medical Association, Comment Letter on Proposed Rulemaking, Definition of
Employer-Small Business Health Plans (RIN 1210-AB85) (March 5, 2018) at 1-2.


                                                5
          Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 13 of 33



                                           ARGUMENT

I.        THE AHP RULE SABOTAGES THE AFFORDABLE CARE ACT’S PATIENT
          PROTECTIONS

          A.     The Affordable Care Act Included Consumer Protection Provisions to
                 Improve the Quality of Health Care Coverage Accessible to Americans

          Prior to passage of the ACA, millions of Americans struggled to obtain adequate health

coverage. Approximately 30% of Americans lacked meaningful health care coverage. Almost

18% of Americans were completely uninsured. 8 Nearly 12% were underinsured (that is, spent a

high share of their income on medical care despite having insurance). 9

          Insurance companies contributed to this problem with the ways they managed the risk of

high payouts. Among other strategies, some individuals, especially those with pre-existing

conditions, were priced out of new insurance plans because of the high costs that could be expected

to treat their conditions. 10 If they lost their coverage for any reason, they could have difficulty

obtaining new coverage. Insurance policies also routinely included provisions limiting liability

under the policy for costs that could be linked to a condition predating the policy. 11

          Physicians and patients ultimately paid for these limitations.       Instead of obtaining

preventative care and routine examinations, “many individuals would wait to purchase health


8
  Niraj Chokshi, Historians Take Note: What America Looked Like Before Obamacare,
Washington Post, March 26, 2014, https://www.washingtonpost.com/blogs/govbeat/wp/2014/03/
26/historians-take-note-what-america-looked-like-before-obamacare/.
9
    Id.
10
   Gary Claxton, Larry Levitt, & Karen Pollitz, Pre-ACA Market Practices Provide Lessons for
ACA Replacement Approaches, Henry J. Kaiser Family Foundation (Feb 16, 2017),
https://www.kff.org/health-costs/issue-brief/pre-aca-market-practices-provide-lessons-for-aca-
replacement-approaches/.
11
   Gary Claxton, et al., Pre-existing Conditions and Medical Underwriting in the Individual
Insurance Market Prior to the ACA, Henry J. Kaiser Family Foundation (Dec. 12, 2016),
https://www.kff.org/health-reform/issue-brief/pre-existing-conditions-and-medical-underwriting-
in-the-individual-insurance-market-prior-to-the-aca/.


                                                  6
       Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 14 of 33



insurance until they needed care.” 42 U.S.C. § 18091(2)(I). But at that point, they often sought

expensive emergency treatment. 12 This resulted in much sicker patients and much higher costs

than if medical problems had been addressed earlier. See generally 42 U.S.C. § 18091(2)(E) (“The

economy loses up to $207,000,000,000 a year because of the poorer health and shorter lifespan of

the uninsured. By significantly reducing the number of the uninsured, the requirement, together

with the other provisions of this Act, will significantly reduce this economic cost.”).

        If patients’ poorer health outcomes were not bad enough, the increased cost of care meant

that they were left with significant medical debt. Id. § 18091(2)(E)-(G) (“62 percent of all personal

bankruptcies are caused in part by medical expenses.”); see Allen St. John, How the Affordable

Care Act Drove Down Personal Bankruptcy: Expanded health insurance helped cut the number

of filings by half, Consumer Reports (May 2, 2017), https://www.consumerreports.org/personal-

bankruptcy/how-the-aca-drove-down-personal-bankruptcy/. This medical debt could financially

cripple the patients and leave their caregivers facing their own losses. And inability to afford high

medical costs was not confined to a small percentage of indigent Americans: a 2016 survey by

the Federal Reserve found that approximately 46% of Americans did not have enough money to

cover a $400 emergency expense, meaning they would have to pay such expense by credit card

and face debt from the credit card company, borrow from friends and family, or leave the bill

unpaid. 13




12
   See, e.g., Ted MacKinney, et al., Does Providing Care for Uninsured Patients Decrease
Emergency Room Visits and Hospitalizations?, US National Library of Medicine, National
Institutes of Health (March 11, 2013), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4818592/.
13
   Ylan Q. Mui, The Shocking Number of Americans Who Can’t Cover a $400 Expense,
Washington Post, May 25, 2016, https://www.washingtonpost.com/news/wonk/wp/2016/05/
25/the-shocking-number-of-americans-who-cant-cover-a-400-expense/?utm_term=.
2f6208458f41.


                                                 7
         Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 15 of 33



         In response to the staggering numbers of uninsured and underinsured Americans and the

exploding health care costs throughout the system, Congress passed the ACA in 2010. 14 The ACA

implemented a number of reforms to help more Americans obtain affordable, meaningful health

coverage, including, as is relevant here, requiring insurance plans to cover pre-existing conditions

and to provide a basic set of services called “Essential Health Benefits.” 15

         These protections provided a crucial check on the historic problems of underinsurance and

skyrocketing medical expenses. By requiring plans to cover pre-existing conditions, the ACA

eliminated a major factor leading to the denial of claims and refusal to provide affordable coverage.

Similarly, the ACA required all plans to provide patients with coverage for certain types of

common, basic care that was nonetheless frequently excluded from individual insurance plans

before its enactment. The ACA’s “Essential Health Benefits” include: (1) ambulatory patient

services; (2) emergency services; (3) hospitalization; (4) maternity and newborn care; (5) mental

health and substance use disorder services including behavioral health treatment; (6) prescription

drugs; (7) rehabilitative and habilitative services and devices; (8) laboratory services; (9)

preventive and wellness services and chronic disease management; and (10) pediatric services,

including oral and vision care. 16

         Before the ACA, many of these essential services were not covered by a significant

percentage of health insurance plans. For example, 75% of non-group health plans did not cover


14
     See National Federation of Independent Business, 567 U.S. 538.
15
  See, e.g., 42 U.S.C. § 18022; Lifetime & Annual Limits, U.S. Department of Health & Human
Services, https://www.hhs.gov/healthcare/about-the-aca/benefit-limits/index.html; Pre-Existing
Conditions, U.S. Department of Health & Human Services, https://www.hhs.gov/healthcare/
about-the-aca/pre-existing-conditions/index.html.
16
  42 U.S.C. § 18022(b)(1); see also Information on Essential Health Benefits (EHB) Benchmark
Plans, Centers for Medicare & Medicaid Services, https://www.cms.gov/cciio/resources/data-
resources/ehb.html.


                                                  8
           Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 16 of 33



delivery and inpatient maternity care. 17 Similarly, 45% did not cover substance abuse disorder

services and 38% did not cover mental health services. 18 Nearly 20% had some limitation on

coverage of prescription medications. 19 Under the ACA, however, individual and small group

insurance plans are all required to cover these services, providing meaningful coverage to those

who did not have it before.

           B.     The AHP Rule Will Undermine the Consumer Protection Provisions in the
                  Affordable Care Act, Leaving Patients Vulnerable to Worse Health Outcomes
                  and/or Financial Ruin

           The AHP Rule threatens to undo the ACA’s vital patient reforms and consumer protections.

In fact, Defendants’ made no attempt to hide that this is one of the rule’s primary goals. The

proposed rule explicitly stated: “Expanding access to AHPs will also allow more small businesses

to avoid many of the [ACA’s] costly requirements.” 20 And when announcing the final rule,

President Trump declared that it would allow Americans to “escape some of Obamacare’s most

burdensome mandates.” 21 But avoiding and escaping the ACA’s statutory requirements will move


17
  Amy Jeter & Craig Palosky, Analysis: Before ACA Benefits Rules, Care for Maternity, Mental
Health, Substance Abuse Most Often Uncovered by Non-Group Health Plans, Henry J. Kaiser
Family Foundation (June 14, 2017), https://www.kff.org/health-reform/press-release/analysis-
before-aca-benefits-rules-care-for-maternity-mental-health-substance-abuse-most-often-
uncovered-by-non-group-health-plans/.
18
     Id.
19
     Id.
20
  Definition of “Employer” Under Section 3(5) of ERISA—Association Health Plans, 83 Fed.
Reg. 614-01, 615 (Jan. 5, 2018) (emphasis added)
21
   President Donald Trump, Remarks at the National Federation of Independent Businesses 75th
Anniversary Celebration (June 19, 2018), at https://www.whitehouse.gov/briefingsstatements/
remarks-president-trump-national-federationindependent-businesses-75thanniversary-
celebration/; see generally Robert Pear & Reed Abelson, Foiled in Congress, Trump Moves on
His Own to Undermine Obamacare, New York Times, Oct. 11, 2017,
https://www.nytimes.com/2017/10/11/us/politics/trump-obamacare-executive-order.html?_r=0
(“President Trump, after failing to repeal the Affordable Care Act in Congress, will act on his own
to relax health care standards on small businesses that band together to buy health insurance and
may take steps to allow the sale of other health plans that skirt the health law’s requirements.”).


                                                  9
          Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 17 of 33



the healthcare system back to the days where Americans had no or inadequate insurance. By doing

so, it will lead to worse health outcomes for amici’s patients.

          By any measure, the new regulation vastly expands the availability of AHPs. Indeed, the

AHP Rule notes that the Congressional Budget Office predicts that an additional four million

people will enroll in AHPs as a result of the rule. 22 The final rule increases access to these AHPs

in several ways, including by allowing (1) unrelated employers to join “associations” formed

primarily for the purpose of offering insurance; (2) associations to include employers that are either

in the same line of business or have a principal place of business in the same geographic area; and

(3) self-employed individuals with no other employees to qualify as “employers” under ERISA,

which enables them to form or join “associations.” 23

          A proliferation of AHPs under the final rule will have serious adverse consequences for

physicians and the patients in their care. By its design, the AHP Rule would allow new AHPs to

offer health insurance that qualifies as “large group coverage” under the ACA. The ACA,

however, treats the large group market differently than the individual or small group healthcare

markets. 24 Unlike those smaller markets, large group coverage under the ACA does not have to

comply with many of the Act’s core consumer protections—including providing the

abovementioned “Essential Health Benefits.” As a result, AHPs could dramatically reduce their

benefits or drop some entirely. Small employers with an ostensibly healthy workforce might




22
     83 Fed. Reg. 28,912.
23
     Id. at 28,913-28,914.
24
     See generally 26 U.S.C. § 4980H.


                                                 10
       Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 18 of 33



choose such plans because of their low premiums. But when a medical emergency strikes, an

employee might discover that essential care is not covered. 25

       As amici’s physician members know well, and as Congress recognized, the essential

benefits are crucial for patient health, and in some cases lifesaving. For example, 1 in 5 adult

Americans has some form of mental illness. 26 One such mental health condition, depression, is

the leading cause of disability worldwide. The overwhelming majority—90%—of suicides, which

is the tenth leading cause of death for men in the United States, occur when the victim has an

underlying mental illness. 27 Mental health treatment can alleviate the symptoms of depression and

prevent suicide, but it may not be covered by certain AHPs.

       Other “Essential Health Benefits” are equally critical for amici’s patients. For example,

studies have found that coverage gaps or caps on prescription drug coverage generally lead to

worse health outcomes. 28 Similarly, the CDC has described prenatal care as “essential,” because

it can help prevent low birth weight, which is the “single most important factor influencing

neonatal mortality.” 29   Prenatal care can help identify and eliminate life-threatening health




25
  Lueck, Sarah, Trump Rule on Association Health Plans Could Devastate Small Group Markets,
Center for Budget and Policy Priorities, Jan. 5, 2018, https://www.cbpp.org/blog/trump-rule-on-
association-health-plans-could-devastate-small-group-markets.
26
     National Alliance on Mental Illness, Mental Health Facts In America,
https://www.nami.org/NAMI/media/NAMI-Media/Infographics/GeneralMHFacts.pdf.
27
  Id.; Hannah Nichols, The Top 10 Leading Causes of Death in the United States, Medical News
Today, Feb. 23, 2017, https://www.medicalnewstoday.com/articles/282929.php.
28
   Aaron S. Kesselheim, et al., Prescription Drug Insurance Coverage and Patient Health
Outcomes: A Systematic Review, 105 Am. J Public Health e17 (Feb 2015), available at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4318289/.
29
   Centers for Disease Control & Prevention, Gateway to Health Communication & Social
Marketing Practice: Pregnancy and Prenatal Care, https://www.cdc.gov/healthcommunication/
toolstemplates/entertainmented/tips/PregnancyPrenatalCare.html.


                                                11
       Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 19 of 33



complications caused by pregnancy. 30 And drug overdose—which “essential” substance abuse

treatment helps avoid—is the leading cause of death among Americans under 50. 31 As any

virtually every physician knows, these services have been deemed “essential” for a reason—they

are vital to a patient’s general health and well-being.

       Excluding “Essential Health Benefits” from AHPs would be particularly devastating to our

most vulnerable populations, including individuals in poor health, such as those with chronic

conditions like HIV, mental illness, or substance abuse. They are also especially damaging to

children. As the American Academy of Pediatrics explained: “Pediatricians have reported that

their experiences with AHPs include poor reimbursement and inadequate benefit packages that

have harmed the ability of their patients to access affordable and comprehensive health

coverage.” 32 These harms can acutely damage younger patients:

       Children are not little adults; they require services and care specific to their unique
       development and medical needs. Children need a benefit package that ensures
       timely and affordable access to a comprehensive set of pediatric services…. The
       expansion of AHPs has the potential to move children to cheaper, less
       comprehensive coverage. We fear this could erode access to important essential
       health benefits like vaccines, prescription drugs, mental health services, dental and
       vision services, and habilitative services. A gap in benefits can result in life-long
       health consequences that are both avoidable and costly. 33

30
    National Institutes of Health, What is Prenatal Care and Why Is It Important?,
https://www.nichd.nih.gov/health/topics/pregnancy/conditioninfo/prenatal-care.
31
  Josh Katz, Drug Deaths in America are Rising Faster than Ever, New York Times, June 5,
2017, https://www.nytimes.com/interactive/2017/06/05/upshot/opioid-epidemic-drug-overdose-
deaths-are-rising-faster-than-ever.html.
32
  American Academy of Pediatrics, Comment Letter on Proposed Rulemaking, Definition of
Employer-Small Business Health Plans (RIN 1210-AB85) (March 6, 2018) at 2.
33
   Id.; see also American Academy of Child & Adolescent Psychiatry, Comment Letter on
Proposed Rulemaking, Definition of Employer-Association Health Plans (RIN 1210-AB85)
(March 5, 2018) at 1-2 (“When needed, early and prompt mental health intervention is essential to
the healthy development of children and adolescents and changes the trajectory of young lives for
the better.…Prevention and early intervention is key to better child and adolescent mental health
outcomes before these conditions become far more serious, more costly, and difficult to treat.…
Leaving the door open to removing the requirement to cover these essential services in AHPs


                                                 12
       Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 20 of 33




       AHPs may also be particularly harmful to women. Many of the “Essential Health Benefits”

“have important implications for women’s health.” 34 Most obviously, these benefits include

maternity and newborn health services.        Because approximately half of pregnancies are

unplanned, 35 women may obtain AHP coverage when they do not expect to require prenatal or

maternity care, but then suddenly find themselves in need of such services. What is more, women

are twice as likely as men to say they have been diagnosed with a mental health issue. 36 And it is

particularly easy for AHPs to exclude certain prescription drugs that are targeted at health

conditions that women experience more commonly than men. For instance, a health plan could

exclude hormone replacement medication commonly prescribed in connection with menopause.

But again, employers may choose lower cost plans that exclude such benefits. As the American

Academy of Family Physicians explained: “Women and older, sicker Americans would likely face

higher costs and fewer affordable insurance options.… For instance, if an insurer wanted to scale




would only serve to worsen existing difficulties in accessing mental health and substance use
disorder services and harm some of the nation’s most vulnerable citizens—our children and
adolescents.”).
34
  National Women’s Law Center, Turning to Fairness: Insurance Discrimination Against Women
Today      and     the      Affordable       Care     Act     (March      2012)       at 14,
https://www.nwlc.org/sites/default/files/pdfs/nwlc_2012_turningtofairness_report.pdf.
35
    American College of Obstetricians and Gynecologists, Comment Letter on Proposed
Rulemaking, Definition of Employer-Association Health Plans (RIN 1210-AB85) (March 5, 2018)
at 2.
36
   PerryUndem Research & Communication, Examining the Mental Health Care Needs and
Preferences       of        Women          Ages         18        to       44        (2017)
https://www.plannedparenthood.org/uploads/filer_public/50/2e/502ec309-c5f3-4aed-82c2-
d73adb02aa8b/centering_srh_and_mh_care_-_generic.pdf


                                                13
           Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 21 of 33



back prescription drug coverage, it could do so.” 37 And as a result, women could end up facing

larger medical bills and insufficient care.

           The coverage limitations in AHP plans can be particularly devastating for those who

develop a new chronic condition after obtaining an AHP plan. Health status is not static, and those

who are initially healthy may be less likely to carefully investigate the limits of their coverage.

And of course, most healthy people would not have reason to seek out insurance that covers a

medical condition they have yet to develop. But these individuals will learn of the limits of their

AHP coverage after they have developed a medical condition or require a higher level of services,

potentially devastating them medically and financially at their most vulnerable time. As AHP

plans can limit or exclude benefits like prescription drug benefits and can deny claims based on

pre-existing conditions, AHP plans can exclude coverage for the services that are most important

to patients with chronic conditions.

           Defendants blew past these concerns in the AHP Rule.           The rule observed that

“[c]ommenters raised the possibility that AHPs would seek to deliver low premiums by providing

benefits that are not as comprehensive as other coverage options available to working owners and

small employers” and that “in order to mitigate these effects, the Department should require AHPs

to provide EHBs or some other minimum level of benefits.” 38 Despite these legitimate concerns,

the AHP Rule stated that such a “mandate would run contrary to the goal of leveling the playing

field between small employers in AHPs, on the one hand, and large employers, on the other, who

generally are not subject to the EHB requirements.” 39 Put another way, through this ipse dixit, the


37
  American Academy of Family Physicians, Comment Letter on Proposed Rulemaking, Definition
of Employer-Small Business Health Plans (RIN 1210-AB85) (March 5, 2018) at 2.
38
     83 Fed. Reg. at 28,933.
39
     Id.


                                                14
         Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 22 of 33



AHP Rule privileged its asserted goal of “leveling the playing field” over the health and well-being

of patients and the ACA’s goal of ensuring basic levels of care. Plaintiffs’ rightly contend that

this approach is “arbitrary, capricious, an abuse of discretion, [and] otherwise not in accordance

with law.” 5 U.S.C. § 706(2)(A).

          If all of this were not enough, there is a significant risk that AHPs could disproportionately

impact individuals with pre-existing conditions. To be sure, on its face, the regulation states that

it protects coverage of preexisting conditions. 40 But in reality, AHPs can easily evade that crucial

legal requirement by using proxies for health status. AHPs can change premiums based on factors

that are not explicitly defined in terms of health or medical condition, but that closely track those

forbidden factors. As such, the AHP Rule allows AHPs to charge different premiums based on

age, gender, industry, or geography. 41 But each of those seemingly-neutral characteristics can be

used to disguise differential treatment based on health status or one’s likelihood of suffering from

particular pre-existing conditions. As the National Association of Insurance Commissioners have

correctly explained: “[A]n AHP could avoid covering certain benefits (such as specialty drugs or

mental health care) and could charge far higher premiums to people who are older, female, or who

work in professions or live in neighborhoods that are deemed high-risk…. People who enroll in




40
  83 Fed. Reg. at 28,941 (“The Department notes that AHPs operating under this final rule, like
other large group plans, though not subject to the requirement to cover EHB and other requirements
applicable only to issuers in the small group and individual markets, are in fact subject to some
other significant benefit mandates. These include, for example, a ban on charging participants and
beneficiaries higher premiums because they have a pre-existing health condition.”).
41
     83 Fed. Reg. at 28,941, 28,944-45


                                                   15
           Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 23 of 33



an AHP could find they don’t have coverage of benefits they need, or that they must pay large

amounts out of pocket for their medical care.” 42

           A few commonsense examples illustrate how easily AHPs can use purportedly neutral

criteria to discriminate. An AHP could, for instance, charge companies that employ certain

workers higher premiums than others. To take just one example, the Blue Cross Blue Shield

Association suggested during the rulemaking process that rates for engineering companies could

be 9% lower than what insurers would charge on the small group or individual markets, whereas

those for the taxicab industry would be almost 15% higher. 43 Likewise, AHPs could charge

industries that employ higher proportions of women more than those that employ men on the

theory that women might require maternity or prenatal coverage. Again, the Blue Cross Blue

Shield Association predicted that AHP premiums for women in their earlier 30s might be more

than 30% higher than regular rates in individual and small group plans; by contrast, rates for men

in their earlier 30s would be 40% lower than ACA rates. 44 Finally, AHPs could discriminate based

on preexisting conditions through meager menus of essential benefits. In particular, they could

exclude essential benefits that some populations use more frequently, such as insulin or other

prescription drugs, maternity care, rehabilitative services that are particularly important to certain

blue-collar professions, or mental health services. As the American Cancer Society Action

Network explained, “[a]n AHP seeking to achieve favorable selection would face few constraints

on its ability to fashion and price products that attract the lowest-cost, lowest-risk enrollees. We


42
    National Association of Insurance Commissioners, Letter to Consumer Representatives
regarding Proposed Rules Related to AHPs (Feb. 1, 2018) at 2-3, uphelp.org/sites/default/
files/attachments/naic_rep_letter_ahps_020118_final_0.pdf
43
  Michelle Andrews, Thinking About an Association Health Plan? Read The Fine Print, Kaiser
Health News (June 26, 2018).
44
     Id.


                                                 16
       Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 24 of 33



are concerned that this provision provides a back-door way for an AHP to use health status to

determine premiums.” 45

       Amici share that concern as well. Denying patients coverage based on seemingly neutral

characteristics that the insurance industry knows, in reality, are associated with higher medical

costs or pre-existing conditions would leave patients with lower quality care, greater out-of-pocket

expenses, and overall poorer health outcomes. Those consequences subvert the object and design

of the ACA.

II.    THE AHP RULE WILL DESTABILIZE THE HEALTH INSURANCE MARKET

       The negative effects of the AHP Rule are not confined to those who purchase AHP plans

issued pursuant to that rule. Patients and employers who do not purchase those plans also will be

harmed. Because AHP plans do not need to play by the same rules as individual and small group

markets, they will be able to offer cheaper coverage to small employers by offering less

comprehensive care. What is more, by allowing individual employers to enroll in AHPs, rather

than the individual marketplace, the consumers most likely to purchase such plans are those who

(at least at the time of purchase) are healthy. Healthy people are less likely to inquire into the

specific limitations of AHP plans because they do not have specific conditions about which they

need to investigate, and are less likely to expect that they will need to use a significant amount of

medical services. That alone raises the risk of catastrophic consequences for a patient’s health and

pocketbook, since we all know that medical tragedies cannot be predicted.

       To make matters worse, the exit of healthy people from ACA insurance markets increases

the costs of the more comprehensive plans. If healthy people exit the small and individual markets



45
  American Cancer Society, Comment Letter on Proposed Rulemaking, Definition of Employer-
Association Health Plans (RIN 1210-AB85) (March 6, 2018) at 5.


                                                 17
           Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 25 of 33



for ACA-compliant insurance to obtain lower-premium AHP plans, those who remain in the

market for ACA-compliant plans will be on the whole less healthy, with higher average healthcare

costs. As a result, the premiums for ACA-compliant plans will rise as fewer healthy people with

lower healthcare costs remain in the risk pool to offset the higher costs of the less healthy people.

           Independent studies confirm these consequences. 46 First, The Actuary, an information

source for the Society of Actuaries, partnered with faculty from Georgetown University to study

the impact of the AHP Rule. Their models indicate that anywhere from 3 to 10 percent of the

individual market would enroll in AHPs because of the rule.             These members would be

substantially healthier than the remaining members of the markets, leading to meaningful increases

in average claims. 47 The study concluded that the expansion of the AHP marketplace “will

ultimately result in higher premiums for individuals remaining in the ACA-compliant market.” 48

Second, an independent study by Avalere revealed that the AHP Rule would result in an additional

3.2 million people enrolling in AHPs, with 1 million coming from the individual market (5% of

that market) and 2.2 million from the small group market (7% of that market). 49 As a result of

these shifts, premiums for those remaining in the individual ACA market would increase by 0.5%

and 3.5% in the in small group market, largely due to the exit of healthier enrollees. What is more,

it would result in approximately 130,000 additional individuals becoming uninsured by 2022



46
  Katie Keith, Reports Find Risk of Non-ACA-Compliant Plans to be Higher than Federal
Estimates¸ Health Affairs Blog, March 4, 2018, https://www.healthaffairs.org/
do/10.1377/hblog20180303.392660/full/.
47
  Sabrina Corlette, et al., New Rules to Expand Association Health Plans, The Actuary, May 2018,
Theactuarymagazine.org/new-rules-to-expand-association-health-plans.
48
     Id.
49
   Dan Mendelson, et al., Association Health Plans Projected to Enroll 3.2M Individuals,
Avalere.com, Feb. 28, 2018, http://avalere.com/expertise/managed-care/insights/association-
health-plans-projected-to-enroll-3.2m-individuals.


                                                 18
       Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 26 of 33



because of premium increases in the individual market. Third, Oliver Wyman conducted a study

on the impact of the proposed AHP Rule on the District of Columbia insurance market. Consistent

with the other two studies discussed above, Oliver Wyman’s report found that the AHP Rule could

increase claim costs by as much as 11 percent for the individual market and 26 percent for the

small group market, depending on certain assumptions. 50

       Leading independent professional associations have recognized the exact same risks that

this data shows. For instance, the American Academy of Actuaries has stated that a “key to

sustainability of health insurance markets is that health plans competing to enroll the same

participants must operate under the same rules.” Subjecting AHPs to different requirements, as

the AHP Rule does, invites the problem of “adverse selection” and “would result in higher

premiums in the non-AHP plans. Ultimately, higher-cost individuals and small groups would find

it more difficult to obtain coverage.” 51

       The ACA’s interlocking and closely intertwined reforms were intentionally designed to

avoid this kind of “adverse selection” problem. 52 Indeed, the Act’s express findings state: “By

significantly increasing health insurance coverage, the requirement, together with the other

provisions of this Act, will minimize this adverse selection and broaden the health insurance risk



50
  Ryan Schultz, Oliver Wyman, Letter to DC Health Benefit Exchange regarding Potential Impact
of Association Health Plans in the District of Columbia, Feb. 21, 2018)
https://hbx.dc.gov/sites/default/files/dc/sites/hbx/publication/attachments/Review%20of%20Imp
act%20of%20AHPs%202.21.2018.pdf.
51
  American Academy of Actuaries, Issue Brief: Association Health Plans, February 2018,
www.actuary.org/content/association-health-plans-0.
52
  E.g., Cutler v. U.S. Dep’t of Health and Human Servs., 797 F.3d 1173, 1176 n.1 (D.C. Cir. 2015)
(“‘Adverse selection’ is an economic term of art that describes problems that can arise in insurance
markets when the healthy have insufficient incentive to purchase health insurance, and thus the
resulting pool of insureds consists predominantly of the sick and those actively using their
insurance.”)


                                                19
         Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 27 of 33



pool to include healthy individuals, which will lower health insurance premiums.” 53 The effect of

the AHP Rule, however, is to raise the risk of the very “adverse selection” problem that Congress

expressly recognized and sought to curtail when enacting the ACA’s market reforms.

          Defendants justify the AHP Rule in the hope that expansion of AHP plans will “promote

broader availability of group health coverage for … small business owners and self-employed

people, and help alleviate their problems of limited or non-existent affordable healthcare options

for these small businesses and self-employed people.” 54 And despite the clear, independent

evidence that the AHP Rule will distort and damage the health insurance markets, the final rule

dismissively declares that adverse selection concerns are “overstated.” 55 At bottom, it appears that

the AHP Rule privileges its desire for so-called choice above the overall stability of the healthcare

system. But even if AHP Rule’s stubborn policy preference were rational or lawful, the rule will

not increase consumer choice in any meaningful way. By requiring plans to provide a minimum

set of services and play by the same rules designed to protect consumers and give them meaningful

coverage, ACA sets the terms for competition: insurance plans can compete on services by

offering more than the minimum consumer protections, or they can compete on price by reducing

costs like overhead. They cannot compete on price by discriminating based on health status or by

eliminating essential benefits. In short, the AHP Rule might increase consumer choices in the

sense that more plans will be available, and it might allow small businesses to obtain cheaper

coverage by offering less comprehensive services. But this is a false choice because the new plans

are irreconcilable with the ACA.



53
     42 U.S.C. § 18091(2)(I).
54
     83 Fed. Reg. at 28,915.
55
     83 Fed. Reg. at 28,933.


                                                 20
       Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 28 of 33



III.   THE AHP RULE CREATES AN UNDENIABLE RISK OF FRAUDULENT OR
       ABUSIVE INSURANCE PRACTICES

       It is important to offer a brief and final word about the long history of fraud and abuse in

connection with AHPs. From the time ERISA was enacted, AHPs have been a font for scams. 56

Indeed, some experts have observed that “in the recent past, the most prevalent way to sell phony

health insurance has been through associations.” 57

       Yet again, independent studies confirm these fundamental flaws associated with AHPs. In

2004, for example, the General Accounting Office (GAO) published a report indicating that

between 2000 and 2002, fraudulent AHPs left over 200,000 policyholders with over $252 million

in unpaid medical bills. 58 “Operators collect premiums but fail to pay medical claims, illegally




56
   Mila Kofman, et al., Association Health Plans: What’s All the Fuss About?, 25 Health Affairs
1591 (Nov. 1, 2006) https://www.healthaffairs.org/doi/full/10.1377/hlthaff.25.6.1591 (“These
scams first appeared after ERISA’s enactment. Multiple employer arrangements were a vehicle of
choice for promoters of phony insurance because of minimal federal oversight and ERISA’s
preemption of states over “employee benefit plans,” which promoters of scams inevitably claimed
to be. After extensive investigations, in 1982 Congress amended ERISA to clarify that states could
regulate any entity considered to be a MEWA regardless of whether it also might qualify as an
employee benefit plan.”).
57
   Mila Kofman, et al., Health Insurance Regulation by States and the Federal Government: A
Review of Current Approaches and Proposals for Change, Georgetown Health Policy Institute
(April 2006) at 8 https://www-tc.pbs.org/now/politics/Healthinsurancereportfinalkofman
pollitz.pdf; see also Mila Kofman, Association Health Plans: Loss of State Oversight Means
Regulatory Vacuum and More Fraud, Georgetown Health Policy Institute (2005) at i,
https://hpi.georgetown.edu/ahp.html (“There has been a 30-year history of health insurance scams
involving associations and multiple employer arrangements. Scams flourished after Congress
exempted these arrangements from state oversight in 1974 through the Employee Retirement
Income Security Act (ERISA). Operators targeted small businesses and self-employed people
through legitimate and phony associations.”); see also Protectourcare.org, Fact Sheet: Association
Health Plans (May 17, 2018) https://www.protectourcare.org/fact-sheet-association-health-plans/
(cataloguing AHP-related fraud schemes).
58
  Id. at 2 n.4 (citing U.S. General Accounting Office, Private Health Insurance: Employers and
Individuals are Vulnerable to Unauthorized or Bogus Entities Selling Coverage, GAO-04-312
(Feb. 2004)).


                                                21
          Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 29 of 33



diverting funds for personal use. They leave small businesses and self-employed people, workers,

and their dependents with major medical debt and without insurance.” 59

          This Court need not take amici’s word for it, however. The AHP Rule itself recognizes the

“the Department anticipates that the increased flexibility afforded AHPs under this rule will

introduce increased opportunities for mismanagement or abuse, in turn increasing oversight

demands on the Department and State regulators.” 60           What is more, the AHP Rule also

acknowledges that its own “enforcement efforts often were too late to prevent or fully recover

major financial losses.” 61 Nevertheless, consistent with its single-minded desire to expand AHPs,

the AHP Rule kicks the enforcement can to the states, explaining that “the final rule does not

modify or otherwise limit existing State authority” to take action against AHP fraud. 62 Those

words provide cold comfort to the thousands of individuals who will suffer from AHP-fraud when

states are unable to keep up with the illegal abusive practices that are virtually certain to increase

as a result of the AHP Rule.

          In the end, amici remain profoundly concerned that insolvent and sham AHPs would

negatively impact patients, physicians, and other providers by leaving them to cover the cost of

services that should have been paid by the AHP. The result would be increased costs to patients

and the health care system overall. What’s more, those costs would be coupled with decreased

quality of care; patients’ health may be adversely impacted when they discover that they would


59
     25 Health Affairs at 1598.
60
     83 Fed. Reg. at 28,953.
61
     83 Fed. Reg. at 28,952.
62
  83 Fed. Reg. at 28,953; see also 83 Fed. Reg. at 28,954 (“Commenters also called for the
Department to increase its enforcement activities. This increase would require Congress to
appropriate additional funding for the Department's oversight of expanded AHPs and for the
Department to expand staff and related enforcement support resources to meet that broader
enforcement/oversight mission.”).


                                                 22
       Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 30 of 33



have limited access to care because a fraudulent AHP would not cover their expenses. Put simply,

the expansion of AHPs would increase overall health costs, while threatening patients’ health and

financial security and the financial stability of physician practices and other providers.

Defendants’ disregard for these near-inevitable consequences cannot be squared with the

Administrative Procedure Act.

                                              ****

       Amici share Defendants’ goal of aiding small businesses and self-employed individuals by

making health insurance plans less expensive and increasing their options for coverage. But the

AHP Rule will lead to an explosion of inadequate health insurance policies, the destabilization of

the health insurance marketplace, and a demonstrated risk of fraud. A desire for increased

consumer choice for small business owners cannot justify results so inimical to the ACA.

“Congress passed the Affordable Care Act to improve health insurance markets, not to destroy

them.” King v. Burwell, 135 S. Ct. 2480, 2496 (2015). Defendants, like courts, must implement

and “interpret the Act in a way that is consistent with the former, and avoids the latter.” Id. The

AHP Rule does precisely the opposite. It should be vacated.

                                        CONCLUSION

       For the foregoing reasons, Plaintiffs’ motion for summary judgment should be granted.




                                                23
      Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 31 of 33



Dated: December 5, 2018


                                          /s/ Chad I. Golder
                                          Chad I. Golder
                                          MUNGER, TOLLES & OLSON LLP
                                          1155 F Street N.W., Seventh Floor
                                          Washington, D.C. 20004-1357
                                          Telphone: (202) 220-1100
                                          Fax: (202) 220-2300

                                          Counsel for Amici Curiae American Medical
                                          Association and Medical Society of the State
                                          of New York




                                     24
      Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 32 of 33



                            CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing complies with Local Civil Rule 7(o)(4) and does not

exceed 25 pages.

Dated: December 5, 2018                             /s/ Chad I. Golder
                                                    Chad I. Golder




                                               25
       Case 1:18-cv-01747-JDB Document 60-1 Filed 12/05/18 Page 33 of 33



                               CERTIFICATE OF SERVICE

       I hereby certify that on December 5, 2018, I caused a true and correct copy of the

foregoing to be served on all counsel of record through the Court’s CM/ECF system.

Dated: December 5, 2018                             /s/ Chad I. Golder
                                                    Chad I. Golder




                                               26
